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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 Jane Doe 1, individually and on behalf of
 all others similarly situated,                          Case No. 1:22-CV-10019 (JSR)

      Plaintiff,

          v.

 JPMorgan Chase Bank, N.A.,

      Defendant.

                          NOTICE OF MOTION FOR AN
                    AWARD OF ATTORNEYS’ FEES AND EXPENSES

TO:      ALL PARTIES AND THEIR ATTORNEYS OF RECORD

         PLEASE TAKE NOTICE that, upon the accompanying memorandum of law, the

Declaration of Sigrid S. McCawley on behalf of Boies Schiller Flexner LLP, Declaration of

Bradley J. Edwards filed on behalf of Edwards Henderson Lehrman, and all prior pleadings and

proceedings had herein, Jane Doe 1, by and through her attorneys, hereby moves the Court, before

the Honorable Jed S. Rakoff, United States District Judge for the Southern District of New York,

at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, New York, NY 10007,

for entry of the [Proposed] Order Granting an Award of Attorneys’ Fees and Expenses: granting

Boies Schiller Flexner LLP, as Lead Counsel, an award of attorneys’ fees and expenses on behalf

of itself and Edwards Henderson Lehrman.

         Pursuant to the Court’s June 29, 2023 Amended Order, Class Representative’s motion,

memorandum of law, and supporting papers are filed timely by October 5, 2023. The deadline to

file objections or opposition is October 19, 2023, and the deadline for Class Representative’s reply

is November 2, 2023. The Settlement Hearing will be held November 9, 2023.


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Dated: October 5, 2023

                                   Respectfully submitted,

                                   /s/ David Boies

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                                  Counsel for Jane Doe 1




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